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      In the United States Court of Federal Claims
                                    No. 20-359C
                               (Filed April 25, 2023)

* * * * * * * * * * * * * * * * * *
                                  *
BRENDA BRASWELL, et al.,          *
                                  *
                 Plaintiffs,      *
                                  *
      v.                          *
                                  *
THE UNITED STATES,                *
                                  *
                 Defendant.       *
                                  *
* * * * * * * * * * * * * * * * * *

                                     ORDER

        On April 24, 2023, Mr. Walter Reeves of Atlanta, Georgia sent to the Clerk’s
office a document entitled “Petition to Submit Motion.” Mister Reeves previously
submitted a motion “to be listed as an Interested Party,” which the Court denied.
See Order, ECF No. 60. Although Mr. Reeves names this case in his most recent
document, the purpose of this petition seems to be to ask the Court to publicly
endorse his candidacy for political office. The Court cannot support Mr. Reeves’
candidacy. See Code of Conduct for United States Judges 5(A)(2). Therefore, his
petition is DENIED. The Clerk is directed not to file Mr. Reeves’s document and to
return his petition, along with this order, to the address that he provided.

IT IS SO ORDERED.

                                       s/ Victor J. Wolski
                                       VICTOR J. WOLSKI
                                       Senior Judge
